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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
                                                                )
In re:                                                          ) Chapter 11
                                                                )
MONITRONICS INTERNATIONAL, INC., et al.,                        ) Case No. 23-90332 (CML)
                                                                )
                          Debtors.1                             ) (Joint Administration Requested)
                                                                )

                       NOTICE OF APPEARANCE AND REQUEST FOR
                           SERVICE OF NOTICES AND PAPERS

         PLEASE TAKE NOTICE that the undersigned hereby appear on behalf of (i) Cortland

Capital Market Services, LLC, solely in its capacity as 2019 Takeback Facility Agent2 under the

2019 Takeback Facility Credit Agreement, and (ii) Alter Domus (US) LLC, solely in its capacity

as DIP Agent in the above-captioned chapter 11 cases. Pursuant to section 1109(b) of title 11 of

the United States Code (the “Bankruptcy Code”) and Rules 2002, 3017(a), 9007 and 9010 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the undersigned respectfully

request that all notices and papers filed or entered in these cases be given to and served upon the

following:

Christopher M. Odell                                       Sarah Gryll
ARNOLD & PORTER KAYE SCHOLER LLP                           ARNOLD & PORTER KAYE SCHOLER LLP
700 Louisiana Street, Suite 4000                           70 West Madison Street, Suite 4200
Houston, Texas 77002-2755                                  Chicago, Illinois 60602-4231
Telephone: (713) 576-2400                                  Telephone: (312) 583-2300
Facsimile: (713) 576-2499                                  Facsimile: (312) 583-2360

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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
    are: Monitronics International, Inc. (9343), Monitronics Corporation (2999); Security Networks, LLC (8893),
    MIBU Servicer, Inc. (5978), LiveWatch Security, LLC (3274), Platinum Security Solutions, Inc. (3850),
    Monitronics Canada, Inc. (9545), MI Servicer LP, LLC (N/A), Monitronics Security, LP (6524), and
    Monitronics Funding, LP (6754). The location of the Debtors’ corporate headquarters and the Debtors’ service
    address is: 1990 Wittington Place, Farmers Branch, Texas 75234.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the proposed
    Interim Order (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Use of Cash
    Collateral, (III) Granting Liens and Superpriority Claims, (IV) Modifying the Automatic Stay, (V) Scheduling a
    Final Hearing, and (VI) Granting Related Relief [ECF No. 21-1].
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Email: christopher.odell@arnoldporter.com             sarah.gryll@arnoldporter.com

       PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing request includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any applications, motions, petitions, pleadings, complaints, demands, disclosure statements, or

plans of reorganization transmitted or conveyed by mail, electronic mail, hand delivery,

telephone, telecopier, or otherwise, which affects the above-captioned Debtors, property of such

Debtors, the 2019 Takeback Facility Agent, or the DIP Agent.

       PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Request for Service of Notices and Papers (this “Notice”) nor any later appearance, pleading,

proof of claim, claim, or suit shall constitute a waiver of (i) the right to have an Article III judge

adjudicate in the first instance any case, proceeding, matter or controversy as to which a

bankruptcy judge may not enter a final order or judgment consistent with Article III of the

United States Constitution, (ii) the right to have final orders in non-core matters entered only

after de novo review by a District Judge, (iii) the right to trial by jury in any proceeding triable in

these cases or any case, controversy, or proceeding related to these cases, (iv) the right to have

the District Court withdraw the reference in any matter subject to mandatory or discretionary

withdrawal, (v) any objection to the jurisdiction of this Bankruptcy Court for any purpose other

than with respect to this Notice, (vi) any election of remedy, or (vii) any other rights, claims,

actions, defenses, setoffs, or recoupments as appropriate, in law or in equity, under any

agreements, all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly

reserved.




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Dated: May 15, 2023                  Respectfully, submitted,
Houston, Texas
                                     ARNOLD & PORTER KAYE SCHOLER
                                     LLP

                                     By: /s/ Christopher M. Odell
                                     Christopher M. Odell
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                                     S.D. Texas No. 33677
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                                     -and-

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                                     Attorneys for Cortland Capital Market Services,
                                     LLC, as 2019 Takeback Facility Agent, and Alter
                                     Domus (US) LLC, as DIP Agent




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                               CERTIFICATE OF SERVICE

       I certify that on May 15, 2023, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern

District of Texas.

                                                     /s/ Christopher M. Odell
                                                     Christopher M. Odell
